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eeo (ofnciai rem so) aaron

In re Aivion Properties, lnc. Case No. 1540462
Debtor

 

SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES ~ AMENDED

Describe all executory contracts of any nature and all unexpired leases of real or personal property. Inelude any tirneshare interestsl State nature
of debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a fease. Provide the names and
complete mailing addresses of all other parties to each lease or contract described If a minor child is a party to one of the leases or contracts,
state the child's initials and the name and address of the child’s parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
disclose the child's name. See, ll U.S.C. §112 and ch. R. Bankr. P. 1007(m).

l:l Check this box if debtor has no executory contracts or unexpired leases.

 

Descri tion of Contract or Lease and Nature of Debtor's Interest.
tate whether lease is for nonresidentral real property.
State contract number of any government contract

Name and Mailing Address, Including Zip Code,
of Other Parties to Lease or Contract

 

Case Coa| Company Holds permit and lease
Attn: Kip Anderson

207 Lewiston

Grosse Pointe, Ml 48236

Creare Ltd A|vion assigned mineral rights 5 of 10 seams for
% Michael G Thomas monetization, with $200,000 per month interest for
1732 1st Ave 30 years in addition to a bi annual interest fee of
New York, NY 10128 ‘1'1,925,000 spelled out in the CD's issued to

A|vion. 'l'here are four of the above CD's issued
to Alvion. Each CD will being generating income
yearly, one in 2015, one 2016, 2017, 2018. Each
CD will provid for annual income of 26,250,000
per year,

Creare LTD
Prosperitan Global Investment Bank, Roseau
Va|ley, Dorninicia

Lee W Gho| Office lease
o wood Pl MCM

,ljg_[r' burg, El.. 62946

 

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continuation sheets attached to Schedule of Executory Conn~acts and Unexpired Leases
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U.nited State_s Bankruptcy Court
Southern District of Iltinois

In re Alvion Prop_erties, lnc. _ Case No. 1540462

 

Debtor(s) Chapter 1 1

 

AMENDE_D
DECLARATION CONCERNING DEB-TOR'S_ _SCHEDULES

DECLARATION UNDE'R' PENALTY OF' PERJURY-ON BEHALF OF COR_PO'R'ATIO'N OR PARTNERSHIP

I, the President of the corporation named as'the debtor in this case, declare under penalty of perjury that f

have read the foregoing document(s), consisting of 1 page(s), and that they are true and correct to the best ofrny
knowledge, information, and belief

 

Date § § /§? § / /,\’7"/ Signature<_zééf/LZ.L{ \SW mm
/ / gainey Karne§iued:ey L 1

resident

Penaltyfor making ajn!se statement or concea?z'ngpropern): Fine of up to $500,000 or imprisonment for up to 5 years or both.
IS U.S.C4 §§ 152 and 3571.

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CERTlFICATE OF SERVICE

The undersigned certifies that a copy of the foregoing instrument Was served

upon:

lVlark Skaggs

U S Trustees Ofiice

401 lVlain Street, Suite 1100
Peoria, lL 61602

Ziemer, Stayman, Weitzel & Shoulders, LLP
Attn: Nicl< J. Cirignano

P.O. Box 916

Evansville, lN 47706-0916

`l'he Coffman Law Firm
505 Orleans, Suite 505
Beaumont, TX 77701

Lee VV. Gho|son
29 Dogwoocl Pl.
Harrisburg, li_ 62946

Alvion Properties, lnc.
22 S. Nlain St.
i-larrisburg, lL 62946

either electronically or by enclosing in an envelope With postage fuliy prepaid and by
depositing said envelope in a U. S. Post Otfice mail box in lVlt. Vernon illinois on the
30th day of done 2015 Tne above is true and correct to the best of the undersignedl s

knowledge

Antonik l_aw Ol"iice
3405 Broadway

PO Box 594

lVlt. Vernon, lL 62864
Ph: (618) 244-5739
Fax: (618) 244-9633
antoniklaw@charter.net

/s/ Nancy E Antonik
Nancy E Antonik

 

 

